                        IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

DONNIE WILKES and THERESA WILKES,          )
                                           )
            Plaintiffs/Counter-Defendants, )    Case No. 3:09-0146
                                           )
V.                                         )    US District Judge:Wiseman
                                           )
                                           )    Magistrate Judge Knowles
AMERICAN NATIONAL PROPERTY AND             )
CASUALTY COMPANY,                          )    Jury Demand
                                           )
            Defendant/Counter-Plaintiff.   )
________________________________________________________________________

                        PROPOSED ORDER OF MUTUAL DISMISSAL

        Whereupon it did appear to the Court as evidenced by signature of counsel for the parties hereto

that this cause has been compromised and that this suit shall be dismissed.

        It is therefore, ORDERED, ADJUDGED and DECREED that all claims of Plaintiff in this

action against American National Property and Casualty Company are hereby dismissed with

prejudice. All claims and /or counter claims of Defendant, American National Property and

Casualty Company against the Plaintiff, Theresa Wilkes and Donnie Wilkes are hereby dismissed

with prejudice any remaining Court costs are taxed to the Plaintiffs. Each Party shall bear their own

discretionary costs.
                      4th
        ENTERED this ________          January
                              day of ____________________, 2010.




                                       _____________________________________
                                       Honorable Thomas A. Wiseman Jr.




    Case 3:09-cv-00146 Document 17 Filed 01/04/10 Page 1 of 1 PageID #: 266
